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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


J.W., by and through her parent and                         Civil No. 12-1369 (DWF/JSM)
legal guardian, Latasha Tolbert, and
individually M.D., by and through her
grandparent and guardian, Vanessa
Boyd, and individually, A.I., by and
through her parents and guardians,
Catrice Ingram and Miguel Jones,
and individually,

                     Plaintiffs,

v.                                                            ORDER FOR DISMISSAL

Saint Paul Public Schools Independent
School District No. 625, Saint Paul
Public Schools Board of Education,
Jayne Ropella, individually, and in her
representative capacity as Principal, and
Timothy M. Olmsted, individually and in
his representative capacity as a teacher,

                     Defendants.


       This matter is before the Court on the parties’ stipulation for dismissal (Doc. No.

[38]) of certain claims in Plaintiffs’ Amended Complaint. Based on that stipulation, and

the files, records, and proceedings herein,

       IT IS HEREBY ORDERED that:

       1.     Plaintiffs’ claims under the Minnesota Human Rights Act (Minn. Stat.

ch. 363A), Count One of Plaintiffs’ Amended Complaint, are DISMISSED WITH

PREJUDICE as to Defendant Timothy M. Olmsted with each party to bear their own

costs and attorney fees on this claim;
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      2.     Plaintiffs’ state law punitive damage claims are DISMISSED WITHOUT

PREJUDICE as to all Defendants, consistent with Minn. Stat. § 549.191;

      3.     Plaintiffs’ punitive damage claims under Section 1983 against Saint Paul

Public Schools Independent School District No. 625 and Saint Paul Public Schools Board

of Education are DISMISSED WITH PREJUDICE; and

      4.     Plaintiffs’ official capacity claims against Jayne Ropella are DISMISSED

WITH PREJUDICE.

Dated: October 31, 2012          s/Donovan W. Frank
                                 DONOVAN W. FRANK
                                 United States District Judge




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